
It is ordered and adjudged that said demurrer be and the same hereby is sustained; and it appearing that the relator does not desire to further plead it is further ordered that the writ of mandamus prayed for be and the same hereby is denied.
The Industrial Commission upon hearing of the claim of an employe against the Otis Steel Company, a self-insuring employer under the Workmen’s Compensation Law, made an award and issued its order pursuant to the provisions of Section 1465-74, General Code, requiring the employer to pay the same to the injured employe in installments as therein directed in accordance with the statute. The function and duty of the Industrial Commission with reference to said claim has been fully discharged and it has therefore neither refused nor failed in “the performance of an act which the law specially enjoins” upon it by virtue of its office. Hence, there would be no warrant for the issuance of a writ as prayed for in the petition requiring the Industrial Commission to modify its order so as to authorize and direct the Otis Steel Company to apply the amount of said award or any portion thereof to the payment of alimony awarded to the wife óf the injured employe or otherwise than as directed by the express provisions of statute.

Demurrer sustained and writ denied.

Kinkade, Robinson, Jones, Matthias, Day and Allen, JJ., concur.
